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        ByECF

        Honorable Kimba M. Wood
        United States District Judge
        Southern District of New York
        500 Pearl Street
        New York, NY 10007
                                                                                      MEMO ENDORSED
               Re:     United States v. Lazzet Fisher
                       20 Cr. 372 (KMW)

        Dear Judge Wood:

               Defense counsel and the government respectfully request an adjournment of the status
        conference now scheduled for November 18, 2020. The parties respectfully seek an adjournment
        of approximately 60 days from that date, at a date and time convenient to the Court.

               The government and counsel are in discussions regarding discovery production and
        possible disposition. We consent to the exclusion of Speedy Trial time.

               Thank you for your attention to this matter.

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                                                                  w~9.s~
                                                                       William J. Stampur

        cc:    AUSA Andrew Rohrbach
               AUSA Cecilia Vogel
                                                                   so ORDERED :            N.Y., ,~.   1•   / / (   q   I 2 (.,
                                                                         KIMBA M. WOOD
                                                                               U.S.D.J.
